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AO 245B (Rev. 09/19) — Judgment in a Criminal Case
Sheet |

UNITED STATES DISTRICT COURT

District of Columbia

UNITED STATES OF AMERICA JUDGMENT IN A CRIMINAL CASE

Vv.

ROGER J. STONE, JR. Case Number: 19-018 (ABJ)

USM Number: 19579-104

Bruce Rogow, Robert Buschel, Grant Smith,
THE DEFENDANT:

Defendant’s Attorney
LJ pleaded guilty to count(s) ir I L ED

LJ pleaded nolo contendere to count(s) _ FEB 2 0 2020

which was accepted by the court,
i lerk, U.S. District & Bankruptcy
| was found guilty on count(s) One (1) through Seven (7) of the Indictment. fi for the District of Columbia

after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section Nature of Offense Offense Ended Count
18:1505 and 2; Obstruction of Proceeding. 12/31/2017 4
18:1001(a)(2) and 2; False Statements. 9/26/2017 2-6
18:1512(b)(1): Witness Tampering. 1/24/2019 7

The defendant is sentenced as provided in pages2 through == 7 _ of this judgment. The sentence is imposed pursuant to

the Sentencing Reform Act of 1984.

(1) The defendant has been found not guilty on count(s)

C}]Count(s) CO is (1 are dismissed on the motion of the United States.

__ It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defendant must notify the court and United States attorney of material changes in economic. circumstances.

2/20/2020

Date of Impositioff of J udgment

4 8:

Amy Berman Jackson, United States District Judge
Name and Title of Judge

+t b POs AZO

     

=

‘Signature of Judge

Date
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Sheet 2 — Imprisonment
Judgment — Page 2 of i.

DEFENDANT: ROGER J. STONE, JR.
CASE NUMBER: 19-018 (ABJ)

IMPRISONMENT

The defendant is hereby committed to the custody of the Federal Bureau of Prisons lo be imprisoned fora

total term of;

Count 1: 40 months of incarceration.
Counts 2-6: 12 months of incarceration to run concurrent to Count 1.
Count 7: 18 months of incarceration to run concurrent to Count 1.

M1 The court makes the following recommendations to the Bureau of Prisons:

That the defendant serve his sentence at a facility near Fort Lauderdale, Florida to allow him to be as close to his
family as possible.

LJ The defendant is remanded to the custody of the United States Marshal.

CL] The defendant shall surrender to the United States Marshal for this district:
LJ at LJ am. LL] p.m. on

EL] as notified by the United States Marshal.

W) The defendant shalt surrender for service of sentence at the institution designated by the Bureau of Prisons:
LC] before 2 p.m. on
L] as notified by the United States Marshal.

M as notified by the Probation or Pretrial Services Office, but no earlier than 14 days after the Court
has ruled on defendant’s Motion for New Trial |Dkt. 313].

RETURN
| have executed this judgment as follows:
Defendant delivered on _ bo _ ee
at . with a certified copy of this judgment.
UNITED STATES MARSHAL.
By

DEPUTY UNITED STATES MARSHAL
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Sheel 3 — Supervised Release
Judement—Pase 3 ol 7
DEFENDANT: ROGER J. STONE, JR.
CASE NUMBER: 19-018 (ABJ)
SUPERVISED RELEASE

Upon release from imprisonment, you will be on supervised release for a term of:

Counts 1-7: 24 months on each count, to run concurrently,

MANDATORY CONDITIONS

1. You must not commit another federal, state or local crime.

2. You must not unlawfully possess a controlled substance.

3. You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within [5 days of release from

imprisoninent and at least two periodic drug tests thereafier, as determined by the court,
L] The above drug testing condition is suspended, based on the court's determination that you
pose a low risk of future substance abuse. (check ifapplicable)

4, L) You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
restitution. (check ifapplicable)

5. M You must cooperate in the collection of DNA as directed by the probation officer. (cheek applicable)

6, [J You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, ef seq.) as
directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where you
reside, work, are a student, or were convicted of a qualifying offense. (check (fapplicable)

i. (] You must participate in an approved program for domestic violence. (check applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page,
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AO 245B (Rev. 09/19) Judgment ina Criminal Case
Sheet 3A =~ Supervised Release
Judgment—Page 4 of 7
DEFENDANT: ROGER J, STONE, JR.
CASE NUMBER: 19-018 (ABJ)

STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are imposed
because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed by probation
officers to keep informed, report to the court about, and bring about improvements in your conduct and condition,

1, You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different ime
frame.

After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and

when you must report to the probation officer, and you must report lo the probation officer as instructed.

3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from the
court or the probation officer.

4, You must answer truthfully the questions asked by your probation officer,

5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must nolify the probation officer within 72
hours of becoming aware of a change or expected change.

6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer to
take any items prohibited by the conditions of your supervision thal he or she observes in plain view.

7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change, Hf notifving the probation officer at least 10
days in advance is not possible due to unanticipated circumstances. you must notily the probation officer within 72 hours of
becoming aware of a change or expected change,

8, You must not communicate or interact with someone you know is engaged in criminal activity. [Pf you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.

9. Jf you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.

10, You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.¢., anything that was
designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or lasers).

Il. You must not act or make any agreement with a Jaw enforcement agency to act as a confidential human source or informant without
first getting the permission of the court.

12. Ifthe probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction, The probation officer may contact the
person and confirm that you have notified the person about the risk,

13. You must follow the instructions of the probation officer related to the conditions of supervision.

tO

U.S. Probation Office Use Only

A USS. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised

Release Conditions, available at: www.uscourts. gov,

Defendant's Signature Date
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Sheet 3D — Supervised Release

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DEFENDANT: ROGER J. STONE, JR.
CASE NUMBER: 19-018 (ABJ)

SPECIAL CONDITIONS OF SUPERVISION

DNA Sample Requirement - Pursuant to 42 USC § 14135a, for all felony offenses, the defendant shall submit to the
collection and use of DNA identification information while incarcerated in the Bureau of Prisons, or at the direction of the

United States Probation Office.

Substance Abuse Testing - The defendant shall submit to substance testing within 15 days of his placement on
supervision, and periodically thereafter, including random testing without notice to the defendant, at the direction of the

United States Probation Office.

Substance Abuse Treatment - If indicated, the defendant shall participate in any program approved and directed by the
United States Probation Office.

Community Service - The defendant must complete Two Hundred Fifty (250) hours of hands-on, community service. This
obligation may not be satisfied with mere fundraising, advocacy, or attendance at religious services, although the
community service may be in connection with the defendant's place of worship. The United States Probation Officer will
supervise the completion of this condition by approving the program, and the defendant must provide verification of his
completed hours to the United States Probation Office.

Financial Payment - The defendant must begin to make payments on the financial penalty within 60 days after his release
from imprisonment, in the amount of at least $1,000.00 per month, The defendant must provide the United States
Probation Office with access to any requested financial information and authorize the release of any requested financial
information, which the United States Probation Office may share with the United States Attorney's Office.

Financial Disclosure - The defendant shall provide the United States Probation Office with his income tax returns,
authorization for release of credit information, and information about any business or finances in which he has a control or
interest until the penalty has been satisfied.

Transfer of Supervision - The Court will transfer the supervision of, but not jurisdiction over, the defendant's supervised
release to the Southern District of Florida.

Re-entry Progress Hearing - The United States Probation Office in that district must submit a progress report to the Court
within sixty (60) days of the defendant's commencement of supervision; upon receipt of the the progress report, the Court
will determine if the defendant's appearance is required at a re-entry Progress Hearing,

Notice of Appeal - Pursuant to Federal Rule of Appellate Procedure 4(b)(3) and (4), the defendant must file any Notice of
Appeal within 14 days after the Court has ruled on defendant's pending motion for new trial [Dkt. 313].
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AQ 245B (Rev. O9/19) Judgment ina Criminal Case
Sheet 5 Criminal Monetary Penalties
Judgment — Page 6 of 7
DEFENDANT: ROGER J. STONE, JR,
CASE NUMBER; 19-018 (ABJ)
CRIMINAL MONETARY PENALTIES

The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

Assessment Restitution Fine AVAA Assessment* JVTA Assessinent**
TOTALS $ 700.00 $ 0.00 $ 20,000.00 $ 0.00 § 0.00
{] Vhe determination of restitution is deferred until _ An Amended Judgment in a Criminal Case (40 2435C) will be

entered after such determination,
CL] The defendant must make restitution (including community restitution) to the following payces in the amount listed below,

Ifthe defendant makes a partial payment, each payee shall receive an approximitely pigmorfigned payment, unless specified otherwise in
the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal victims must be paid
before the United States is paid.

 

Name of Payee Total Loss*** Restitution Ordered Priority or Percentage
TOTALS § 0.00 $ 0.00

[J] Restitution amount ordered pursuant to plea agreement $

CL] ‘The defendant must pay interest on restitulion and a fine of more than $2,500, unless the restitution or fine is paid in full before the
fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(). All of the payment options on Sheet 6 may be subject
to penalties for delinquency and default, pursuant to 18 U.S.C. § 361 2(x).

WJ The court determined that the defendant does not have the ability to pay interest and it is ordered that:
WV) the interest requirement is waived for the VW] fine [1] restitution,

[J] the interest requirement for the [] fine [] restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299,

** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.

*** Findings for the total amount of losses are required under Chapters 109A, 110, }LOA, and 113A of Title 18 for offenses committed on
or afler September 13, 1994, but before April 23, 1996.
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Sheet 6 — Schedule of Payments

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DEFENDANT: ROGER J. STONE, JR,
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SCHEDULE OF PAYMENTS
Having, assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows:
A MW) Lumpsum payment ol$ 700,00 due immediately, balance due

(_] not later than ,or

Wi in accordance with [J] C, Cc D, an E, or MF below; or

 

B [J Payment to begin immediately (may be combined with LIC, LJ) D,or CIF below); or
C CC) Payment in equal fe.g., weekly, monthly, quarterly) installments of $ over a period of
(e.g, months or years), lo commence fe.g., 30 or 60 days) alter the date of this judgment; or
dp M Payment in equal monthly fe.g., weekly, monthly, quarterly) installments of $ 1,000.00 over a period of
20 month — fe.g., months or years), to commence — 60 days — (v.g., 30 or 60 days) alter release from imprisonment to a

term of supervision; or

—E  [] Payment during the term of supervised release will commence within _ — fe.g., 30 or 60 days) after release from
imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that Gime; or

F ¥Y Special instructions regarding the payment of criminal monetary penalties:
o faa}

Special Assessment is payable in accordance with 18 U.S.C. § 3013.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due during
the period of imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

[J] Joint and Several

Case Number

Defendant and Co-Defendant Names = Joint and Several Corresponding Payee,
(including defendant number) lotal Amount Amount if appropriate

Lj The defendant shall pay the cost of prosecution.
(] The defendant shall pay the following court cost(s):

CL} The defendant shall forfeit the defendant’s interest in the following property to the United States:
g property

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment,
(5) fine principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, Including cost of
prosecution and court costs.
